Case 2:05-cv-02429-SHl\/l-dl<v Document 12 Filed 08/22/05 Page 1 of 4 PagelD 12

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JOEL FRANC|S, |ll; m
JANE FRANC|S; AND
JOEL FRANCIS, JR..

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uNrTED STATES DISTRICT COURT FoR THE %1: ,
GOUZD
;HS

P|aintiffs,

VS. NO. 05-2429-|\/|3 V

LAKEWOOD ENG|NEER|NG &
|V|ANUFACTURlNG COMPAN¥,
WALMART STORES, INC. and

SAlVl'S WEST, |NC., SAM'S EAST, |NC.
d/b/a SAM'S CLUB,

Defendants.

 

SCHEDULlNG ORDER

 

Pursuant to written notice, a scheduling conference was to be held on August 25,
2005. The parties, however, have agreed to scheduling deadlines. Accordingly, the
following dates are the final dates for:

|N|T|AL DISCLOSURES PURSUANT TO Fed.R.Civ.P. 26(3)(1): September 8, 2005.

JorNiNe PART|ES; october 25, 2005.
AMEND|NG PLEAD:NGS: February17,2006.
lNiTlAL MoTIoNS To DISMISS: November 25, 2005.
coMPLETiNG ALL olscovERY: June 23, 2006

(a) oocuMENT PRoouchoN: February 17, 2006.

(b) DEPOS|T|ONS, |NTERROGATOR|ES AND REQUESTS FOR
AD|V||SS|ONS: June 23, 2006.

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Case 2:05-cv-O2429-SHl\/l-dl<v Document 12 Filed 08/22/05 Page 2 of 4 PagelD 13

(C) EXPERT W|TNESS D|SCLOSURE (Rule 26):

(1) D|SCLOSURE OF PLAlNTlFF’S RULE 26 EXPERT
|NFORMAT|ON: lVlarch 17, 2006.

(2) D|SCLOSURE OF DEFENDANT’S RULE 26 EXPERT
lNFOR|VlAT|ON: Apri| 17, 2006.

(3) EXPERT W|TNESS DEPOS|T|ONS: June 23, 2006.
F|LlNG D|SPOS|TIVE MOT|ONS: July 28, 2006
OTHER RELEVANT |VlATTERS:

No depositions may be scheduled to occur after the discovery cutoff date. A||
motions, requests for admissions, or other filings that require a response must be filed
sufficiently in advance of the discovery cutoff date to enable opposing counsel to
respond by the time permitted by the Ru|es prior to that date.

Nlotions to compel discovery are to be filed and served by the discovery deadline
or within 30 days of the default or the service of the response, answer, or objection,
which is the subject of the motion, if the default occurs within 30 days of the discovery
deadline, unless the time for filing of such motion is extended for good cause shown, or
the objection to the default, response, answer, or objection shall be waived.

This case is set forjuryil»nl`pq¢trial, and the trial is expected to last fj\_@ day(s).
The pretrial order date, pretrial conference date, and trial date will be set by the
presiding judge.

The parties have not yet make a determination regarding whether this case is
appropriate for ADR. The parties will notify the Court of the appropriateness of ADR at
the conclusion of discovery.

The parties are reminded that pursuant to Local Rule 11(a)(‘l)(A), all motions,
except motions pursuant to Fed. R. Civ. P. 12, 56, 59, and 60 shall be accompanied by
a proposed order.

The opposing party may file a response to any motion filed in this matter. Neither
party may file an additional reply, however, without leave of the court. lf a party
believes that a reply is necessary, it shall file a motion for leave to file a reply
accompanied by a memorandum setting forth the reasons for which a reply is required

The parties have not consented to trial before the magistrate judge.

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_ This order has been entered after consultation with trial counsel pursuant to
notice. Absent good cause shown, the scheduling dates set by this order will not be

modified or extended

|T lS SO ORDERED.

APPROVED:

 

Patrick Flynn

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NAPOL|TAN, PLLC

By:

 

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R. Scott Vincent #21055

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DlANE K. VESCOVO
UN|TED S ATES MAG|STRATE J,LJDGE
DATE: ',f./?/A~A.Mf j»'?, 0700§

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 12 in
case 2:05-CV-02429 Was distributed by faX, mail, or direct printing on
August 26, 2005 to the parties listed.

ESSEE

 

Patrick A. Flynn

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Houston, TX 77005

Honorable Samuel Mays
US DISTRICT COURT

